Case 1:18-cv-01429-PLM-RSK ECF No. 63, PageID.621 Filed 06/25/21 Page 1 of 4                         (1 of 4)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov


                                                  Filed: June 25, 2021


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                     Re: Case No. 19-1298, Gun Owners of America, Inc., et al v. Merrick Garland, et al
                         Originating Case No. : 1:18-cv-01429

Dear Counsel,

  The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/Cathryn Lovely
                                                  Opinions Deputy
Case 1:18-cv-01429-PLM-RSK ECF No. 63, PageID.622 Filed 06/25/21 Page 2 of 4   (2 of 4)




cc: Mr. Thomas Dorwin

Enclosure
Case 1:18-cv-01429-PLM-RSK ECF No. 63, PageID.623 Filed 06/25/21 Page 3 of 4                 (3 of 4)



                                        RECOMMENDED FOR PUBLICATION
                                        Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                               File Name: 21a0144p.06

                         UNITED STATES COURT OF APPEALS
                                           FOR THE SIXTH CIRCUIT



 GUN OWNERS OF AMERICA, INC.; GUN OWNERS                             ┐
 FOUNDATION; VIRGINIA CITIZENS DEFENSE LEAGUE;                       │
 MATT WATKINS; TIM HARMSEN; RACHEL MALONE,                           │
                             Plaintiffs-Appellants,                  │
                                                                     │
                                                                      >        No. 19-1298
 GUN OWNERS OF CALIFORNIA, INC.,                                     │
                                                        Movant,      │
                                                                     │
                                                                     │
           v.                                                        │
                                                                     │
 MERRICK B. GARLAND, in his official capacity as                     │
 Attorney General of the United States; UNITED STATES                │
 DEPARTMENT OF JUSTICE; BUREAU OF ALCOHOL,                           │
 TOBACCO, FIREARMS AND EXPLOSIVES; MARVIN G.                         │
 RICHARDSON, in his official capacity as Acting                      │
 Director, Bureau of Alcohol, Tobacco, Firearms, and                 │
 Explosives,                                                         │
                                                                     │
                                Defendants-Appellees.
                                                                     │
                                                                     ┘

                                      On Petition for Rehearing En Banc
       United States District Court for the Western District of Michigan at Grand Rapids.
                   No. 1:18-cv-01429—Paul Lewis Maloney, District Judge.

                                       Decided and Filed: June 25, 2021

       Before: SUTTON, Chief Judge; MOORE, COLE, CLAY, GIBBONS, GRIFFIN,
             KETHLEDGE, WHITE, STRANCH, DONALD, THAPAR, BUSH,
                      LARSEN, NALBANDIAN and MURPHY.*




       *
           Judge Readler recused himself from participation in this case.
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 No. 19-1298           Gun Owners of Am., Inc., et al. v. Garland, et al.                  Page 2


                                       _________________

                                             ORDER
                                       _________________

       A majority of the Judges of this Court in regular active service has voted for rehearing en
banc of this case. Sixth Circuit Rule 35(b) provides as follows:

       The effect of the granting of a hearing en banc shall be to vacate the previous
       opinion and judgment of this court, to stay the mandate and to restore the case on
       the docket sheet as a pending appeal.

       Accordingly, it is ORDERED, that the previous decision and judgment of this court are
vacated, the mandate is stayed, and this case is restored to the docket as a pending appeal.

       The Clerk will direct the parties to file supplemental briefs and will schedule this case for
oral argument as soon as possible.

                                              ENTERED BY ORDER OF THE COURT




                                              __________________________________
                                              Deborah S. Hunt, Clerk
